             Case 2:09-cr-00436-MCE Document 88 Filed 01/05/12 Page 1 of 2


 1   BRUCE LOCKE (#177787)
     Moss & Locke
 2   800 Howe Avenue, Suite 110
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     MOHAMMAD NASIR KHAN
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,    )              No.   CR. S-09-436 MCE
                                  )
 9                 Plaintiff,     )
                                  )              STIPULATION TO CONTINUE
10                                )              DATE FOR SENTENCING
          v.                      )
11                                )
     MOHAMMAD NASIR KHAN, et al., )
12                                )
                   Defendants.    )
13   ____________________________)
14
15         IT IS HEREBY STIPULATED AND AGREED between the defendants,
16   Mohammad Nasir Khan and Obed Ur Rahman, by and through their undersigned
17   defense counsel, Bruce Locke and Randy Thomas, and the United States of
18   America by and through its counsel, Assistant U.S. Attorney John Vincent, that
19   the date for sentencing both defendants currently set for January 5, 2012
20   should be continued to January 26, 2012.
21         The reason for the continuance is that Mr. Locke and the government
22   need additional time to resolve the amount of the taxes due from Mr. Khan so
23   that the parties can stipulate to the amount of restitution that Mr. Khan will owe
24   to the IRS. The parties request that Mr. Rahman’s case be continued because
25   both the government and the defense prefer that both defendants be sentenced
26   on the same day.
27   ///
28
29                                           1
             Case 2:09-cr-00436-MCE Document 88 Filed 01/05/12 Page 2 of 2


 1         It is further stipulated that formal objections to the PSR shall be filed no
 2   later than January 12, 2012; that any opposition to the formal objections shall
 3   be filed no later than January 19, 2012; and that any Sentencing Memorandum
 4   shall be filed no later than January 19, 2012.
 5
     DATED: December 22, 2011                    /S/ Bruce Locke
 6                                        BRUCE LOCKE
                                          Attorney for Mohammad Nasir Khan
 7
 8   DATED: December 22, 2011                    /S/ Bruce Locke
                                          For RANDY E. THOMAS
 9                                        Attorney for Obed Ur Rahman
10
11
     DATED: December 22, 2011                /S/ Bruce Locke
12                                        For JOHN VINCENT
                                          Attorney for the United States
13
14
15                                        ORDER
16
17         IS SO ORDERED.
18
      Dated: January 4, 2012
19
20                                        ______________________________
21                                        MORRISON C. ENGLAND, JR.
                                          UNITED STATES DISTRICT JUDGE
22
23
24
25
26
27
28
29                                           2
